Case 2:17-cv-12845-AC-DRG ECF No. 28 filed 02/15/18   PageID.225   Page 1 of 3




                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN

TIMOTHY BARKOVIC

      Plaintiff,
                                      Case No.: 2:17-cv-12845
v.                                    Hon. Avern Cohen
                                      Magistrate Judge David R. Grand
STATE OF MICHIGAN, et al.,

      Defendants.

TIMOTHY BARKOVIC                      CHAPMAN LAW GROUP
In Pro Per                            Ronald W. Chapman Sr., M.P.A.,
25805 Harper Ave.                     LL.M (P37603)
St. Clair Shores, MI 48081            Carly Van Thomme (P59706)
                                      Kevin A. McQuillan (P79083)
LAW OFFICES OF CATHERINE GOFRANK Attorneys for Defendant Correct Care
John A. Mullett (P49880)              Solutions
David A. Brauer (P45220)              1441 West Long Lake Rd., Suite 310
Attorney for Defendants 41-B Judicial Troy, MI 48098
Court, Judge Linda Davis, and Court (248) 644-6326
ADA Coordinator                       rchapman@chapmanlawgroup.com
625 Kenmoor Ave., S.E., Suite 212     cvanthomme@chapmanlawgroup.com
Grand Rapids, MI 49546                kmcquillan@chapmanlawgroup.com
(616) 942-4227
jmullett@travelers.com                MACOMB      COUNTY       CORPORATION
                                      COUNSEL
MICHIGAN DEPT. OF ATTORNEY            John A. Schapka (P36731)
GENERAL                               Attorney for Defendants County
Elizabeth R. Husa Briggs (P73907)     Macomb and Macomb County Sheriff
Attorney for Defendant State of       Anthony Wickersham
Michigan                              1 South Main Street, Floor 8
525 W. Ottawa St.                     Mount Clemens, MI 48043
P.O. Box 30736                        (586) 469-6346
Lansing, MI 48909                     john.schapka@macombgov.org
(517) 373-6434
briggse1@michigan.gov
Case 2:17-cv-12845-AC-DRG ECF No. 28 filed 02/15/18        PageID.226   Page 2 of 3




        STIPULATED ORDER OF DISMISSAL WITH PREJUDICE

                         At a session of said Court held in
                       the City of Detroit, State of Michigan,
                               on February 15, 2018.

                           PRESENT: Hon. Avern Cohn
                            United States District Court Judge

      This matter having come before the Court upon the stipulation of the parties,

and the Court being otherwise fully advised in the premises;

      NOW, THEREFORE:

      IT IS HEREBY ORDERED that this action is dismissed with prejudice, with

each party bearing its own attorney fees and costs. This dismissal order disposes of

all claims and closes the case.



                                  s/Avern Cohn
                                  U.S. DISTRICT COURT JUDGE
Date: February 15, 2018

Approved as to form and substance by:

                                       /s/ Kevin A. McQuillan
                                       Kevin A. McQuillan (P79083)
                                       Attorney for Defendant Correct          Care
                                       Solutions
                                       1441 West Long Lake Rd., Suite 310
                                       Troy, MI 48098
                                       (248) 644-6326
                                       kmcquillan@chapmanlawgroup.com

[Additional signatures on following page.]


                                         2
Case 2:17-cv-12845-AC-DRG ECF No. 28 filed 02/15/18   PageID.227   Page 3 of 3



                                  /s/ John A. Schapka
                                  John A. Schapka (P36731)
                                  Attorney for Defendants County Macomb
                                  and Macomb County Sheriff Anthony
                                  Wickersham
                                  1 South Main Street, Floor 8
                                  Mount Clemens, MI 48043
                                  (586) 469-6346
                                  john.schapka@macombgov.org

                                  /s/ John A. Mullett
                                  John A. Mullett (P49880)
                                  Attorney for Defendants 41-B Judicial Court,
                                  Judge Linda Davis, and Court ADA
                                  Coordinator
                                  625 Kenmoor Ave., S.E., Suite 212
                                  Grand Rapids, MI 49546
                                  (616) 942-4227
                                  jmullett@travelers.com

                                  /s/ Elizabeth R. Husa Briggs
                                  Elizabeth R. Husa Briggs (P73907)
                                  Attorney for Defendant State of Michigan
                                  525 W. Ottawa St.
                                  P.O. Box 30736
                                  Lansing, MI 48909
                                  (517) 373-6434
                                  briggse1@michigan.gov

                                  /s/ Timothy Barkovic
                                  Timothy Barkovic
                                  Plaintiff




                                     3
